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   1 SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
         A Limited Liability Partnership
   2     Including Professional Corporations
       SHANNON Z. PETERSEN, Cal. Bar No. 211426
   3     spetersen@sheppardmullin.com
       LISA YUN PRUITT, Cal. Bar No. 280812
   4     lpruitt@sheppardmullin.com
       SIEUN J. LEE, Cal. Bar No. 311358
   5     slee@sheppardmullin.com
     12275 El Camino Real, Suite 100
   6 San Diego, CA 92130-4092
     Telephone: 858.720.8900
   7 Facsimile:   858.509.3691
   8 Attorneys for Defendant
     IEC CORPORATION
   9
  10                             UNITED STATES DISTRICT COURT
  11                            CENTRAL DISTRICT OF CALIFORNIA
  12                           (SOUTHERN DIVISION – SANTA ANA)
  13
  14 SHANA PIERRE, individually and on          Case No. 8:22-cv-01280-FWS-JDE
     behalf of all others similarly situated,
  15                                            CLASS ACTION
                   Plaintiff,
  16                                            STIPULATION TO CONTINUE THE
           v.                                   HEARING ON DEFENDANT’S
  17                                            MOTION TO COMPEL
     IEC CORPORATION D/B/A                      ARBITRATION FROM NOVEMBER
  18 INTERNATIONAL EDUCATION                    10, 2022 TO NOVEMBER 17, 2022
     CORPORATION, a Delaware
  19 corporation,
  20                     Defendant.
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                                                                 Case No. 8:22-cv-01280-FWS-JDE
       SMRH:4857-0123-1160.2                       STIPULATION TO CONTINUE THE HEARING ON
                                                DEFENDANT’S MOTION TO COMPEL ARBITRATION
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   1            Plaintiff Shana Pierre and Defendant IEC Corporation submit this stipulation
   2 to continue the hearing on Defendant’s motion to compel arbitration from
   3 November 10, 2022 at 10:00 a.m. to November 17, 2022 at 10:00 a.m.
   4            On October 7, 2022, Defendant filed a motion to compel arbitration and
   5 inadvertently scheduled the hearing on the motion for November 7, 2022, which is
   6 not a date on which the Court regularly holds such hearings. On October 11, 2022,
   7 the Court issued a minute order, continuing the hearing on the motion to November
   8 10, 2022. Plaintiff’s counsel, however, has limited availability over the next few
   9 weeks to prepare an opposition and has requested, and Defendant has agreed, to
  10 reschedule the hearing from November 10, 2022 to November 17, 2022, or some
  11 later date convenient for the Court.
  12            Accordingly, the parties hereby stipulate and agree, subject to the approval of
  13 this Court, that this Court enter an order continuing the hearing on Defendant’s
  14 motion to compel arbitration to November 17, 2022, at 10:00 a.m.
  15            IT IS SO STIPULATED.
  16
  17   Dated: October 11, 2022
  18                                  SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
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  20
                                      By                  /s/ Shannon Z. Petersen
  21                                                     SHANNON Z. PETERSEN
  22                                                        LISA YUN PRUITT
                                                               SIEUN J. LEE
  23
  24                                                      Attorneys for Defendant
                                                           IEC CORPORATION
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                                                   -2-               Case No. 8:22-cv-01280-FWS-JDE
       SMRH:4857-0123-1160.2                           STIPULATION TO CONTINUE THE HEARING ON
                                                    DEFENDANT’S MOTION TO COMPEL ARBITRATION
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   1 Dated: October 11, 2022
   2                                  WOODROW & PELUSO, LLC
   3
   4
                                      By                      /S/ Taylor T. Smith
   5                                                         TAYLOR T. SMITH
   6
                                                            Attorneys for Plaintiff
   7                                                          SHANA PIERRE
   8
   9
  10                              SIGNATURE CERTIFICATION
  11            I, Shannon Z. Petersen, attest that all other signatories listed, and on whose
  12 behalf the filing is submitted, concur in the filing’s content and have authorized the
  13 filing.
  14 Dated: October 11, 2022
  15                                     SHEPPARD, MULLIN, RICHTER & HAMPTON
  16                                     LLP

  17
  18                                     By                /s/ Shannon Z. Petersen
  19                                                      SHANNON Z. PETERSEN
                                                             LISA YUN PRUITT
  20                                                            SIEUN J. LEE
  21
                                                            Attorneys for Defendant
  22                                                         IEC CORPORATION
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                                                   -3-               Case No. 8:22-cv-01280-FWS-JDE
       SMRH:4857-0123-1160.2                           STIPULATION TO CONTINUE THE HEARING ON
                                                    DEFENDANT’S MOTION TO COMPEL ARBITRATION
